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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

UNITED STATES OF AMERICA,
ex. rel. MITCHELL D. MONSOUR and

WALTON STEPHEN VAUGHAN (Relators) PLAINTIFFS
V. Civil Action No. 1:16cv38HSO-JCG
PERFORMANCE ACCOUNTS RECEIVABLE, LLC, et al. DEFENDANTS

PLAINTIFFS/RELATORS’ RESPONSE AND MEMORANDUM IN OPPOSITION
TO MOTION TO DISMISS (AND FOR SUMMARY JUDGMENT)
BY DEFENDANTS DEARDORFF AND STEPPING STONES HEALTHCARE

I. The FCA Complaint Adequately Alleges with Particularity that the Stepping
Stone Defendants Actively Caused Violations of (A) the Anti-Kickback Act,
(B) Medicare Cost Report Statutes, and (C) the False Claims Act.
Defendants Clay Deardorff and his Stepping Stones Healthcare, LLC (hereafter
jointly referred to as “Stepping Stones”), ask the Court to depart entirely from well-
established Fifth Circuit precedents adjudicating claims under the False Claims Act, 31
U.S.C. §§ 3729-30 (“FCA”), when they insist that they cannot be liable under FCA for
the reasons that they did not individually and directly (1) submit hospitals’ claims to
Medicare, or (2) sign hospitals’ Medicare enrollment applications, or (3) prepare

hospitals’ cost reports (so as to include payments the hospitals made to Stepping Stones),

or (4) receive payments directly from Medicare. Physician defendants in U. S. ex rel.
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Riley v. St. Luke’s Episcopal Hospital, 355 F.3d 370 (5" Cir. 2004), similarly argued that
it was hospitals, and not physicians, who had presented and been paid by federal insurers
for procedures in which the physicians had directly participated, and thus that the
physicians could not be proper FCA defendants. Jd. at 377-78. All such arguments were
rejected by the Fifth Circuit, ruling that the “FCA applies to anyone who ‘knowingly
assist(s) in causing’ the government to pay claims grounded in fraud, ‘without regard to
whether that person ha(s) direct contractual relations with the government.’” /bid.,
quoting Peterson v. Weinberger, 508 F.2d 45, 52-53 (5™ Cir. 1975).'

Stepping Stones also implicitly asks the Court to disregard the text and purpose of
the Anti-Kickback Act, 42 U.S.C. § 1320a-7b(b)(‘AKA”). Through that Act, Congress
(in admittedly sweeping terms) firmly decided that, while the United States was willing to
pay to actual providers of health care the true value of providing such care, it was not

willing to also pay - however indirectly - additional amounts for the “costs” of having

 

'The Fifth Circuit in Riley added, quoting United Sates v. Mackby, 261 F.3d 821, 827 (9"
Cir. 2001), that “a person need not be the one who actually submitted the claim forms in order to
liable” under the FCA. Riley, supra, at 378. The Fifth Circuit therefore held that, in alleging that
the physician defendants and hospital defendants had “assisted one another and cooperated in a
scheme or pattern” resulting in billing of legally-false claims, the qui tam complaint in that case
had sufficiently alleged FCA liability on the part of all such defendants. Jbid. Indeed, under
the FCA’s Subsection 3729(a)(1)(A), a person can be liable not only if he or she “knowingly
presents,” but also if he or she by her conduct “causes to be presented,” a legally or factually
false claim for payment (Count | herein). Likewise, under Subsection 3729(a)(1)(B), a person
can also be liable if he or she “knowingly makes, uses, or causes to be made or used, a false
record or statement material to a false or fraudulent claim” (Count 2 herein). Finally, under the
FCA’s Subsection 3729(a)(1)(C), a person can also be liable for participating in an agreement or
conspiracy to cause any such claim or statement to be made (Count 3 herein)(emphasis added).

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paid arrangers, marketers or referrors of additional health care business. See, e.g., United
States v. Patel, 778 F.3d 607, 612 & 618 (7" Cir. 2015)(primary congressional purpose of
AKA is to contain the “cost of care” of Medicare and Medicaid patients).”? In the AKA
text most relevant to Stepping Stones’ conduct, the statute forbids any person from
receiving any monetary value (whether it takes the form of a “kickback” or not) in
exchange for any activity “arranging for or recommending” any service “for which
payment may be made in whole or in part under a Federal health care.” /bid. As alleged in
the Complaint, Stepping Stones did just that when it agreed with both Franklin County
Memorial Hospital and Pearl River County Hospital to “develop” (i.e., arrange for) the
“operation by the Hospitals of geriatric intensive outpatient psychological therapy
programs (called “IOPs”),” with an express purpose of substantially increasing the
“costs” - “and thus Medicare revenues” - from the IOP operations, with Stepping Stones
to be paid by the hospitals not according to the true costs or value of any health care
actually delivered to patients, but instead according strictly to how much increased “gross

charges” Stepping Stones could arrange for its hospital clients to charge to Medicare for

 

The Seventh Circuit in Patel emphasized, in support of a very broad reading of the term
“referral” within the AKA, that the AKA “was enacted to ‘protect the Medicare and Medicaid
programs from increased costs and abusive practices resulting from provider decisions that are
based on self-interest rather than cost, quality of care or necessity of services,’” quoting
“Guidance on the Federal Anti-Kickback Law” by U.S. Dept. of Health and Human Services,
http://bphc.hrsa.gov/policiesregulations/policies/pal199510.html (last visited Feb. 2, 2015).

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resulting IOP operations.’ The higher-contingency-fees-for-more-patients-arranged-for
exchange between Stepping Stones and the two hospitals was obvious, as the Complaint
describes in detail: For its development of, arrangements for, and referrals of additional
IOP patients and business, Stepping Stones received fully forty percent (40%) of the
hospital’s “gross charges” from resulting IOP operations - if, but only if, such gross
charges were “in excess of $600,000.” If “gross charges” did not hit that $600,000
marketing target, but reached “in excess of $250,000,” Stepping Stones received thirty-
two percent (32%) of the gross charges to Medicare. (Jbid.) As alleged in detail in the
Complaint, all such extraordinary payments were exchanged exclusively for bringing the
hospitals more and more IOP business - not for performing health care services of any
kind.’ As alleged, such terms were entered between Stepping Stones and Pearl River

County Hospital in April of 2011, and otherwise with Franklin County Memorial

 

>Complaint herein, at Page 19, Paragraphs 53 & 54. Stepping Stones, which did not
provide even one patient with actual IOP services or other health care, was obviously being paid
in exchange for arranging for and referring more IOP business to the hospitals - the very kinds of
costs which Congress insists through the AKA that the United States is not willing to pay. Jd. at
Page 20, Paragraph 55: “(N)one of the agreements by Hospital Defendants with Deardorff or
Stepping Stones were intended or designed to compensate either of them for the value of services
directly related to or necessary for patient care. Indeed, Hospital Defendants’ agreements with
Stepping Stones obligated the medical staffs and employees of the Hospitals, and not employees
of or providers to Stepping Stones, to be the exclusive providers of actual IOP services actually
delivered to Medicare patients.” /bid.

“Td. at Page 19, Paragraph 54.

*Jd. at Page 20, Paragraph 55.
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Hospital.°

Stepping Stones admitted that it knew that all such fees paid to it by such “critical
access” hospitals were going to be included on the hospitals’ “cost-based” cost reports
resulting in 101% reimbursements by Medicare.’ Admitting that he had entered yet
another agreement with the Pearl River County Hospital to “kick back” a “large donation
for the planned new PRC Hospital Foundation” if (but only if) the “IOP revenues”
resulting from Stepping Stones’ own IOP arrangements “reached a certain high amount”
(as an obvious reward in exchange for the hospital having allowed Stepping Stones to
profit hugely from the targeted high numbers of referrals), Defendant Deardorff “later
attempted to justify such a kickback arrangement by assuring the successor hospital
administrator, namely (Plaintiff) Relator Vaughn, that ‘all (of) Stepping Stone’s fees are

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cost-based,’ and that ‘the hospital receives 101% of these costs,’” which of course is true
only of Medicare cost-based reimbursements (of which Deardorff was obviously well
aware).* In practical effect, Stepping Stones asked its client hospital: “why should you
care how much in volume-based fees you pay Stepping Stones when you and I both know

that all such amounts add to the hospital’s ‘costs,’ and thus the amounts of its “cost-

based” reimbursements of “101% of all such costs by Medicare?” Deardorff’s statement

 

S/d. at Page 19, Paragraphs 53 & 54.
‘Id. at Page 22, Paragraph 61.

8 Ibid.
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demonstrates not only that “costs” resulting from volume-based fees paid by the hospitals
to Stepping Stones (in return for Stepping Stones’ arrangements for additional IOP
patients and business) would in fact be added to the hospitals’ Medicare “cost” report
(and thus Medicare reimbursement) amounts, but also that Stepping Stones knew of that
fact and intended to have that effect on the hospitals’ Medicare reimbursement.’

That may be the heart of the scheme entered by the Walters Defendants and
Stepping Stones with their cost-based hospital clients. But it is also the heart of what
Congress was trying through the AKA to forbid.

Stepping Stones further asks this Court in effect to disregard the very flexible
approach which the Fifth Circuit has adopted for applying FRCP Rule 9(b) to FCA cases.
That Rule itself requires of complaints involving allegations of “fraud” (including,
admittedly, FCA complaints), that a plaintiff “state with particularity the circumstances
constituting fraud.” In the context of FCA complaints, “Rule 9(b) supplements but does
not supplant Rule 8(a)’s notice pleading,” and “does not ‘reflect a subscription to fact
pleading’ and requires only ‘simple, concise, and direct’ allegations of the ‘circumstances

constituting fraud,’ which after Twombly must make relief plausible, not merely

 

*Stepping Stones’ cynical admissions about how its Critical Access Hospital clients
would be reimbursed “101%” for whatever volume-based fees they paid Stepping Stones
provides particularized evidence about Stepping Stones’ relevant “state of mind,” in that
Deardorff and his company obviously knew that (a) they were not being paid for providing actual
health care services, (b) they were being paid to arrange for more IOP business to be referred to
and received by their hospital clients, (c) their fees would be treated as “costs” on the hospitals’
Medicare cost reports, and (d) those purported “costs” would result in Medicare paying per-
patient claims equal to “101%” of the amounts of such “costs.” /bid.

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conceivable, when taken as true.” United States ex rel. Grubbs v. Kenneganti, 565 F.3d
180, 185-86 (5" Cir. 2009), quoting in part Williams v. WMX Techs., Inc., 112 F.3d 175,
178 (5" Cir. 1997).

The Grubbs decision remains the most definitive decision by the Fifth Circuit
concerning the application of Rule 9(b) to FCA complaints. In it, the Court explained that
the kind of particularity required by Rule 9(b) is “context-specific,” and that “there is no
single construction of Rule 9(b) that applies in all contexts.” /d. at 188. “Depending on
the claim, a plaintiff may sufficiently ‘state with particularity the circumstances
constituting fraud or mistake’ without including all the details of any single court-
articulated standard - it depends on the elements of the claim at hand.” Jbid. While noting
that particularity as to “time, place, contents, and identity” is routinely required of
common law fraud allegations, the Fifth Circuit emphasized that the FCA “lacks the
elements of reliance and damages” required of a common law fraud claim, such that an
FCA complaint which lacks particulars as to contents or billings is not presumptively
barred by Rule 9(b). Jd. at 189. “(S)urely a procedural rule ought not be read to insist that

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a plaintiff plead the level of detail required to prevail at trial.” /bid. Any “‘time, place,
contents, and identify’ standard is not a straitjacket for Rule 9(b)” in FCA cases, such that
the “rule is context specific and flexible and must remain so to achieve the remedial

purpose of the False Claims Act.” Jd. at 190.

Ultimately, an FCA complaint which “sets out the particular workings of a
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scheme” of which relators became aware meets the requirement of Rule 9(b), if the fact
of a later submission by others of legally false bills to Medicare or another federal agency
is evidently “the logical conclusion of the particular allegations” in the FCA complaint.
Id. at 192. Stepping Stones’ express statements to Relator Vaughn prove that Stepping
Stones knew that “costs” equal to “101%” of fees paid by to Stepping Stones by any
Critical Access Hospital would be reimbursed by Medicare.

In particularized allegations presumed to be true for the present procedural
purpose, the present FCA complaint sets out particular workings of a scheme in which
Deardorff and Stepping Stones were among those who knew of and agreed to participate
to their substantial financial benefit in what is described as “the Defendants’ Cost
Padding Scheme.” In it, they like other Defendants “fraudulently exploited the cost-based
system of Medicare reimbursement of (the Critical Access Hospitals which paid Stepping
Stones in combination with other Defendants) millions of dollars in payments . . . for
activities designed to pad and inflate costs, the amounts of which were falsely represented
on the (relevant hospitals’) cost reports to Medicare as directly related to (and as
necessary to) patient health care (but the central purpose and effect of which was to
enrich (parties including Stepping Stones)).”"°

Finally, Stepping Stones effectively urges the Court to disregard the legally-

 

'ven if Stepping Stones had demonstrated a failure of particularity within the meaning
of Rule 9(b), any resulting dismissal would be required to be a dismissal without prejudice. See,
e.g., Guidry v. Bank of LaPlace, 954 F.2d 278, 288 (5" Cir. 1992).

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accepted scope of the law of conspiracy incorporated into the FCA when it provides, in
Subsection 3729(A)(1)(C) thereof, for liability as to any person who “conspires” to
commit a particular substantive FCA violation, including participation in an agreement in
which any person “causes to be made or used a false record or statement material to a
false or fraudulent claim” in substantive violation of Subsection 3729(A)(1)(B)(emphasis
added). By agreeing to participate (to their own financial advantage) in the Defendants’
“Cost Padding Scheme” of over-charges to hospitals whose “costs” they knew were paid
by Medicare, Stepping Stones became liable under the law of conspiracy for the cost-
padding conduct of all other parties to the same agreed scheme, even if Stepping Stones
did not itself conduct or profit from cost-generating transactions carried out by others
during the scheme. See, e.g., United States v. Herlihy, 1998 U.S.App. LEXIS 39863 *11-
12 (Sth Cir. 1998)(physician who knew of and implicitly joined scheme to defraud federal
insurers was criminally liable for false claims even as to patients who the physician never
knew of and never treated).
II. The Stepping Stones Defendants Demonstrate No Statutorily Relevant
“Public Disclosure” of the Same Allegations
Through a 2013 State Court Complaint or Resulting News Articles.

It is undisputed from Declarations of each of the two Relators/Plaintiffs already in

the record of this case that prior to the beginning of 2013, both of the Relators had

learned through their own exclusive investigative efforts, and had themselves reported to

federal officials, the very conduct alleged in their gui tam Complaint as to the “Hospital
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Defendants” (transactions with which are involved in this case), and that in November of
2013 a State Court lawsuit was filed - on behalf of a separate hospital, the Pearl River
County Hospital - only because the Relators themselves had earlier (1) hired the attorneys
who brought that lawsuit, (2) reported the Relators’ findings about Pearl River Hospital to
those attorneys, and (3) directed the attorneys to file the lawsuit on behalf of the Pearl
River Hospital.'' With no evidence to support any such nonsensical view, Stepping
Stones speculates that those events happened in the opposite sequences from how all of
the evidence reveals they actually happened. They claim that the Relators “merely copied
the Medicare fraud allegations previously made by Pearl River County Hospital” when
they filed their gui tam Complaint, and therefore cannot be regarded as “original sources”
of the information they themselves had investigated and learned as to the Hospital
Defendants (many months prior to when they caused the late-2013 filing of Pearl River
Hospital’s lawsuit), as “original source” was defined as a part of the FCA’s “public
disclosure bar” both before and after the FCA’s “public disclosure” provision was
substantially amended on March 23, 2010. 31 U.S.C. § 3730(e)(4).

First, as to all (or almost all) of the false claims alleged in this case, application of
the “original source” language of the FCA’s public disclosure bar has no relevance

herein, since Stepping Stones points to no “public disclosure” of any kind recognized by

 

'\See Exhibits 1 and 2 to this Memorandum, previously submitted to the Court herein in
support of previous responses to other Defendants’ dismissal motions.

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the FCA as of that March 2010 amendment as relevant to the statutory bar."

As then amended, for the bar to apply to a qui tam relator (subject to a later
“original source” analysis), “substantially the same allegations or transactions as alleged”
in the FCA complaint must have been “disclosed” through one or more of a specified list
of communication media.'? Stepping Stones points to only two sets of “disclosures,”
namely (1) the 2013 State Court Complaint (and its later amendment in the same State
Court) and (2) two later internet “articles” very generally describing that original

Complaint’s allegations. At least as of March of 2010, no such state court complaint can

 

This case was filed on February 8, 2016. (Docket herein, No. 3). The United States not
having now intervened herein, the applicable statute of limitations is generally regarded as the
six-year provision under 31 U.S.C. § 3731(b), under which FCA challenges to the making of
false claims must not be brought “more than 6 years after the date on which the violation of
section 3729 is committed,” which in this case would bar challenges to claims made to federal
insurers prior to February 8, 2010. See, e.g., United States ex rel. Jackson v. Univ. of N. Tex.,
673 Fed.Appx. 384, 387 (5" Cir. 2016). The relevant amendments to the “public disclosure bar”
were enacted the following month, on March 23, 2010. (Stepping Stones Memorandum, at Page
15). Stepping Stones is frank to acknowledge (on Page 17 of their Memorandum) that “the Fifth
Circuit has not addressed the issue (of whether or not the earlier) version of the public disclosure
applies to pre-ACA conduct,” which in this case would involve only claims submitted by
hospitals between February 8, 2010 and March 23, 2010 - a period of only 43 days. Even if the
relevant 2010 amendments did not apply “retroactively,” the pre-2010 language would apply only
to a maximum of 43 days of potential claims. Certainly the parties agree that as of March 23,
2010, and thus as to virtually all (if not all) claims within the six-year period covered by this
case, the 2010 amended language clearly applies.

3To be relevant to any “public disclosure bar,” the particular allegations or transactions
alleged in an FCA complaint must, at least as of March of 2010, have been earlier “publicly
disclosed (i) in a Federal criminal, civil, or administrative hearing in which the Government or its
agent is a party; (ii) in a congressional, Government Accountability Office, or other Federal
report, hearing, audit, or investigation; or (ili) from the news media.” The statute includes no
“catchall” category, and allows no categories of public disclosures other than those specified
categories. See, e,g., Grubbs, supra, at 194-95 (citing the exclusive statutory “disclosure”
categories as they existed before the 2010 amendments to the FCA).

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possibly be included in any of the categories on the statutory list, as the list now includes
only litigation-related disclosures “in a Federal criminal, civil, or administrative hearing
in which the Government or its agent is a party.” (FCA Subsection 3730(e)(4)(A)(i);
emphasis added). While the statutory list also includes disclosures of the details of
allegations “from the news media,” the two late-2013 internet “news” articles only
describe in the most general terms some of the allegations in the State court complaint
(which, again, originated with the Relators themselves). In no respect are “substantially
the same allegations or transactions as alleged” in the Relators’ gui tam Complaint

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disclosed in either of those late-2013 internet “articles.

Ill. Even If the Same Allegations had Earlier been Disclosed
through a Statutorily-Recognized Public Medium,

the Relators’ Roles as “Original Sources” of the Information
Would Preclude Application of the Public Disclosure Bar.

Even if the same allegations contained in the current qui tam Complaint had been

 

'4For substantially the same “allegations” or “transactions” to be disclosed publicly as are
alleged in a qui tam complaint, FCA cases require that the publication must have disclosed
sufficient particulars about why the activity was fraudulent and why the fraudulent conduct
resulted in false claims to a federal agency. No “public disclosure” bars a qui tam suit unless the
publication has “placed in the public domain” all of the “critical elements exposing the
transaction as fraudulent.” United States ex rel. Feingold v. AdminaStar Fed., Inc., 324 F.3d 492,
495 (7" Cir. 2003). The disclosure’s content must “bring to the attention of the relevant authority
that there has been a false claim against the government.” Jd. at 495. See also United States ex
rel. Rabushka v. Crane Co., 40 F.3d 1509, 1514 (8" Cir. 1994)(“Embracing too broad a
definition of “transaction” threatens to choke off the efforts of qui tam relators in their capacity
as “private attorneys general.”). “In order to bar jurisdiction, a public disclosure must reveal both
the true state of facts and that the defendant represented the facts to be something other than what
they were.” United States ex rel. Minn. Ass’n of Nurse Anesthetists v. Allina Health Sys. Corp.,
276 F.3d 1032, 1044 (8 Cir. 2002). See also United States ex rel. Reagan v. East Tex. Med.

Ctr. Reg. Healthcare Sys., 384 F.3d 168, 174-75 (5" Cir. 2004).

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“publicly disclosed” through one of the statute’s specified means of public disclosures,
the public disclosure bar would not apply here if the Relators were what the FCA calls
“original sources of the information.” FCA Subsection 3730(e)(4). Congress through its
2010 amendments greatly broadened the scope of who can be an “original source” by
providing that status to any qui tam relator who either (1) prior to a public disclosure
(through one of the specified forms of disclosure) has voluntarily disclosed to the
Government the information on which allegations or transactions in a claim are based, or
(2) has knowledge that is independent of and materially adds to the publicly disclosed
allegations or transactions, and who has voluntarily provided the information to the
Government before filing an action under this section” of the FCA. 31 U.S.C. §
3730(e)(4)(B)(emphasis added).'°

The presumed-true assertions in their pending Complaint, like the two
Declarations included herewith, all make clear that the two Relators in this case, even if
required to demonstrate “original source” status under the FCA’s 2010 amendments (as to
all alleged false claims made since March 23, 2010), would qualify under either of those

two criteria. Those Relators (a) initiated the Mississippi Circuit Court proceeding which

 

5 As of March of 2010, “a relator no longer must possess ‘direct . . . knowledge’ of the
fraud to qualify as an original source.” Majestic Blue Fisheries, supra, at 299. Asa result of the
2010 FCA amendments, “(t)he focus now is on what independent knowledge the relator has
added to what was publicly disclosed.” /bid. The “direct and independent” language was then
specifically removed by Congress from the FCA. See, e.g., United States ex rel. Colquitt v.
Abbott Labs., 858 F.3d 365, 374 (5" Cir. 2017), and United States ex rel. Schumann v.
AstraZeneca Pharms., L.P., 769 F.3d 837, 848 (3 Cir. 2014).

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Stepping Stones points to as the principal “public disclosure” (and which resulted in the
only two late-2013 internet, or “news media;” disclosures Stepping Stones cites), (b)
hired and briefed the attorneys who brought that action, and (c) obviously had from their
own efforts the information alleged in that State proceeding before the proceeding even
existed (such that their information is obviously “independent of” information disclosed
only in the later Circuit Court proceeding).'® Prior to bringing this action, moreover, they
both disclosed the relevant information to multiple federal health care investigative
officials during years leading up to the 2016 filing of this FCA action. J/bid. Relator
Monsour’s Declaration, included as Exhibit 3 to this Response, confirms those numerous
disclosures to numerous federal officials.

As to false claims allegedly made during the 43-day period preceding the March
23, 2010 FCA amendments - as to which the pre-2010 statutory language may (or may
not) apply - the result is the same: the Relators by 2012 were both “original sources” or
the information contained in their gui tam Complaint. Prior to 2010, an “original source”

was required to have “direct and independent knowledge of the information on which the

 

'See Paragraphs 1-3 of the Complaint. The presumed-true Paragraph 3 therein states that
“beginning in 2012,” the same two Relators “uncovered together the activities by the Defendants
described (in their FCA Complaint), engaged auditors, attorneys, architects and other
professionals, to further uncover more details of those activities, and disclosed the substance of
those activities to federal health care fraud investigators . . . to receive and investigate evidence
of fraud against the Medicare system. After acquiring through their investigation the information
reflected herein, the Relators then caused a private lawsuit to be filed on behalf of the Pearl River
County Hospital against some of the Defendants herein,” a reference obviously to the same
Mississippi Circuit Court proceeding on which Stepping Stones now entirely relies.

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allegations are based and (to have) voluntarily provided the information to the
Government before filing an action under this section which is based on the information.”
31 U.S.C. § 3730(e)(4)(B)(prior to March 23, 2010). The Relators’ knowledge was
“direct” within that meaning because they derived it before 2013 - rather than for the first
time from reading a 2013 complaint which itself resulted from their own prior
investigative efforts.'’ Under pre-2010 FCA caselaw such information was “direct” if it
was “gained by the relator’s own efforts rather than learned second-hand through the
efforts of others” reflected in relevant public information.'* The Relator’s knowledge in
turn was “independent” of any public disclosures because it was physically impossible for
its to have been “derived from the public disclosure” represented by the 2013 State court
proceeding, since undisputed evidence proves that the Relator’s 2012 knowledge
obviously preceded - and, for that matter, was the driving cause of - the 2013 State
lawsuit.'? The Relators in 2012 could have learned nothing from the contents of a State
court proceeding which was not even filed until late 2013.

This is not a “parasitic” suit filed by two “opportunistic late comers” capable of

being properly barred as failing the “original source” test governing the periods either

 

'7See the Declarations included as Exhibits 1 and 2 hereto.

'8See, e.g., U.S. ex rel. Reagan v. E. Tex. Med. Reg’l Heathcare Sys., 384 F.3d 168, 178-
79 (5" Cir. 2004)(for the relator’s knowledge to be “direct,” it could not have been derived from
“research and review of public records”), and United States ex rel. United States ex rel. Fried v.
West Independent School Dist., 517 F.3d 439, 442-43 (5" Cir. 2008).

"Reagan, supra, at 177 (to be “independent,” the relator’s knowledge must not have been
“derived from the public disclosure” on the statutory list itself).

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before or after the March 2010 FCA amendments.”°

Conclusion
The Stepping Stones Defendants’ Motion to Dismiss, and for Summary Judgment,

should be denied.
This the 2"¢ day of April, 208.

MITCHELL D. MONSOUR, ET AL.
By their Attorney,
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By: s/Brad Pigott
J. Brad Pigott

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Certificate of Service

This is to certify that I have this day, April 2, 2018, caused the foregoing Response
and Memorandum to be electronically filed through the electronic filing system of the
Clerk of this Court, and have thereby caused each counsel of record who has entered an
appearance herein to receive electronically a duplicate thereof.

_s/Brad Pigott
J. Brad Pigott

 

Reagan, supra, at 174 (“public disclosure bar” is designed to apply to “parasitic suits by
opportunistic late-comers who add nothing to the exposure of fraud”).

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